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		OSCN Found Document:IN RE AMENDMENTS TO THE RULES FOR MANAGEMENT OF THE OKLAHOMA COURT INFORMATION SYSTEM

					

				
  



				
					
					
						
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				IN RE AMENDMENTS TO THE RULES FOR MANAGEMENT OF THE OKLAHOMA COURT INFORMATION SYSTEM2018 OK 4Decided: 01/16/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 4, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In re: Amendments to the Rules for Management of the Oklahoma Court Information System, 20 O.S. 2011, ch. 18, app. 2. )




ORDER


Rule 3 of the Rules for Management of the Oklahoma Court Information System, 20 O.S. 2011, ch. 18, app. 2, is hereby amended as shown with markup on the attached Exhibit "A." A clean copy of the new rule is attached as Exhibit "B." The amended rule is effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 16th day of January, 2018.


/S/CHIEF JUSTICE



CONCUR: COMBS, C.J., GURICH, V.C.J., KAUGER, WINCHESTER, EDMONDSON,
COLBERT, REIF, and WYRICK, JJ.



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Exhibit "A"

District Courts shall pay the Oklahoma Court Information System the installation, operation, maintenance, repair, and access costs for its services. The funds shall be paid from the court fund of the District Court or from the District Court Clerk Revolving Fund to the Administrative Director of the Courts, and those funds shall be deposited in the Oklahoma Court Information System Revolving Fund. 20 O.S.Supp.1994 § 1316.

In addition to payment for necessary equipment and its installation the District Courts shall be charged fees for: 1. Access to a telecommunications network known as OneNet; 2. Access to the Wide Area Network provided by O.C.I.S.; and 3. Case-tracking services. The amount of the fees shall be reasonable and set by the Administrative Director of the Courts upon approval by the Chief Justice of the Supreme Court. 20 O.S.Supp.1994 § 1315. The Administrative Director of the Courts shall issue a monthly statement to each District Court receiving services from the Oklahoma Court Information System. Id.

Access to O.C.I.S. or any of its services by county law libraries in counties having a population of less than three hundred thousand (300,000) shall be in accordance with the Rules for Management of County Law Libraries, 20 O.S.Supp.1998 Ch. 17, App. Access to O.C.I.S. or any of its services provided by O.C.I.S. to a county law library in a county having a population of three hundred thousand (300,000) or greater shall be pursuant to an agreement approved by the Chief Justice. The Administrative Director of the Courts shall establish reasonable fees for providing access to O.C.I.S. or any of its services to county law libraries in counties having a population of 300,000 or greater, and such fees shall be subject to the approval of the Chief Justice.

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Exhibit "B"

District Courts shall pay the Oklahoma Court Information System the installation, operation, maintenance, repair, and access costs for its services. The funds shall be paid from the court fund of the District Court or from the District Court Clerk Revolving Fund to the Administrative Director of the Courts, and those funds shall be deposited in the Oklahoma Court Information System Revolving Fund. 20 O.S.Supp.1994 § 1316.

In addition to payment for necessary equipment and its installation the District Courts shall be charged fees for: 1. Access to a telecommunications network known as OneNet; 2. Access to the Wide Area Network provided by O.C.I.S.; and 3. Case-tracking services. The amount of the fees shall be reasonable and set by the Administrative Director of the Courts upon approval by the Chief Justice of the Supreme Court. 20 O.S.Supp.1994 § 1315. The Administrative Director of the Courts shall issue a monthly statement to each District Court receiving services from the Oklahoma Court Information System. Id.

Access to O.C.I.S. or any of its services by county law libraries in counties having a population of less than three hundred thousand (300,000) shall be in accordance with the Rules for Management of County Law Libraries, 20 O.S.Supp.1998 Ch. 17, App. Access to O.C.I.S. or any of its services provided by O.C.I.S. to a county law library in a county having a population of three hundred thousand (300,000) or greater shall be pursuant to an agreement approved by the Chief Justice. The Administrative Director of the Courts shall establish reasonable fees for providing access to O.C.I.S. or any of its services to county law libraries in counties having a population of 300,000 or greater, and such fees shall be subject to the approval of the Chief Justice.





	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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	Title 20. Courts
&nbsp;CiteNameLevel

&nbsp;20 O.S. 1315, Oklahoma Court Information System - Oklahoma Court Information System Revolving FundDiscussed
&nbsp;20 O.S. 1316, Law Student Clerks for Supreme Court, Court of Civil Appeals and District Courts - Appointment - Grants and Donations Revolving FundDiscussed


	
	








				
					
					
				

		
		

	
		
			
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